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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                          Case No. 25-cv-00951-PCP
                                                        Plaintiff,
                                   8
                                                                                            ORDER SETTING REMOTE
                                                 v.                                         HEARING
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                                  10     HEWLETT PACKARD ENTERPRISE                         Re: Dkt. No. 126
                                         CO., et al.,
                                  11                    Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          On June 10, 2025, defendants in this matter moved the Court for an order providing for an

                                  14   equal allotment of trial time, requiring that all exhibits be admitted through a sponsoring witness,

                                  15   and requiring that the parties be prohibited from introducing deposition testimony outside of trial.

                                  16   The United States filed its opposition to defendants’ motion on June 16, 2025.

                                  17          Although the parties have stated that they will be prepared to address the issues raised in

                                  18   defendants’ motion at the June 30, 2025 pretrial conference, the Court believes that the parties’

                                  19   interests will be better served by resolving those issues at an earlier date. Accordingly, the Court

                                  20   sets defendants’ motion for a remote hearing via Zoom on Wednesday, June 18, 2025, at 2pm. In

                                  21   preparing for the hearing, the parties should be aware that the Court expects that each trial day will

                                  22   include an average of roughly 6 hours of testimony after accounting for necessary breaks, and that

                                  23   the Court is now able to extend the trial by 3 days, with those trial days falling on Monday, July

                                  24   28, 2025; Tuesday, July 29, 2025; and Friday, August 1, 2025.

                                  25          IT IS SO ORDERED.

                                  26   Dated: June 17, 2025

                                  27
                                                                                                     P. Casey Pitts
                                  28                                                                 United States District Judge
